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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK
  CATHERINE MCKOY, MARKUS FRAZIER, and
  LYNN CHADWICK, individually and on behalf of all
  others similarly situated,

                         Plaintiffs,
                                                                 No. 1:18-cv-09936-LGS-SLC
               v.

  THE TRUMP CORPORATION, DONALD J. TRUMP,
  in his personal capacity, DONALD TRUMP, JR., ERIC
  TRUMP, and IVANKA TRUMP,

                         Defendants.


 DECLARATION OF MATTHEW D. BRINCKERHOFF IN FURTHER SUPPORT OF
          PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

       MATTHEW D. BRINCKERHOFF, declares under penalty of perjury pursuant to 28

U.S.C. § 1746, that the following is true and correct:

       1.      My name is Matthew D. Brinckerhoff. I am a partner in the firm of Emery Celli

Brinckerhoff Abady Ward & Maazel LLP, counsel for Plaintiffs Catherine McKoy, Markus

Frazier, and Lynn Chadwick (“Plaintiffs”). I submit this declaration in further support of

Plaintiffs’ Motion for Class Certification.

       2.      Annexed as Exhibit 1 is a true and accurate copy of an ACN Opportunity Disc

sleeve produced by non-party ACN.

       3.      Annexed as Exhibit 2 is a true and accurate copy of excerpts of the November 18,

2022 Expert Report of Stacie Bosley.

       4.      Annexed as Exhibit 3 is a true and accurate copy of excerpts of the March 20,

2023 deposition of Joseph F. Hair, Ph.D.
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Dated: April 21, 2023

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                                 MATTHEW D.BRINCKERHOFF
